       Case 0:25-mj-06320-PAB Document 29 Entered on FLSD Docket 06/02/2025 Page 1 of 1
                                         COURT MINUTES/ORDER
                       United States Magistrate Judge Patrick M. Hunt
                  Fort Lauderdale Courtroom 310                            Date: 6/2/2025                         Time: 1:00PM
Defendant:Dennard Oshea Dobard (WRIT)            J#: 86377‐511          Case #:              0:25-mj-06320-PAB-3
AUSA: Joseph A. Cooley                                         Attorney: David A. Donet, Jr.
            21:U.S.C.§846 CONSPIRACY TO DISTRIBUTE AND POSSESS WITH THE INTENT TO DISTRIBUTE A CONTROLLED
Violation: SUBSTANCE
Proceeding: Initial Appearance                                            CJA Appt: David A. Donet, Jr.
Bond/PTD Held:        Yes       No           Recommended Bond:
Bond Set At                                                                Co‐signed by:
     Surrender and/or do not obtain passports/travel docs                          Language: English
     Report to PTS as directed/or            x’s a week/month by                   Disposition:
     phone:          x’s a week/month in person                                     Defendant Present. Defendant advised of his
     Random urine testing by Pretrial Services                                     rights and charges. Defendant was sworn and
     Treatment as deemed necessary
                                                                                   testified as to appointing counsel. Due to a
     Refrain from excessive use of alcohol/drugs
                                                                                   conflict with the Public Defender’s Office, Court
     Participate in mental health assessment & treatment
                                                                                   appoints CJA David A. Donet, Jr. CJA David A.
     Maintain or seek full‐time employment/education                               Donet, Jr. accepted appointment via telephone in
     No contact with victims/witnesses                                             open court. Defendant oral motion to appoint
     No firearms                                                                   counsel (CJA)‐ Granted.
     Not to encumber property                                                      Government oral motion for Pretrial Detention
     May not visit transportation establishments                                   Hearing‐Granted‐. Defense oral motion to
     Home Confinement/Electronic Monitoring and/or                                 continue Pretrial Detention Hearing‐Granted‐.
     Curfew         pm to           am, paid by
                                                                                   Brady Order Entered Today
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:
     Other:
NEXT COURT APPEARANCE       Date:                  Time:                Judge:                               Place:
Report RE Counsel:
PTD/Bond Hearing: 6/3/2025 @10:30AM FTL Duty
Arraign/Prelim or Removal: 6/16/2025 @11:00AM FTL Duty
Status Conference RE:
D.A.R. 13:04:37                                                                   Time in Court: 10 Minutes

  CHECK IF APPLICABLE: _____For the reasons stated by counsel for the Defendant and finding that the ends of justice served by
  granting the ore tenus motion for continuance to hire counsel outweigh the best interests of the public & the Defendant in a
  Speedy Trial, the Court finds that the period of time from today, through and including ______, shall be deemed excludable in
  accordance with the provisions of the Speedy Trial Act, l8 USC 3161 et seq..
